 Case 23-50096-rlj12       Doc 30-2 Filed     07/13/23 Entered 07/13/23 21:19:40
                                          DC-2023-CV-0565                                    Desc
                                                                                             Filed 5/9/2023 10:49 AM
                          Plaintiffs Original Petition Page 1 of 140                                  Sara L. Smith
                                                                                 Lubbock County - 72nd District Court
                                                                                            Lubbock County, Texas


                                CAUSE NO.

FIRST BANK & TRUST,                                            IN THE DISTRICT COURT OF

       PLAINTIFF,

VS.                                                              LUBBOCK COUNTY, TEXAS

2B FARMS, INC.,
TERRY ROBINSON, AND
REBECCA ROBINSON,

       DEFENDANTS.                                             JUDICIAL DISTRICT COURT

   PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY
 AGREEMENTS, MONEY DAMAGES, APPLICATION FOR APPOINTMENT OF A
  RECEIVER, APPLICATION FOR TEMPORARY RESTRAINING ORDER, AND
TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF SEOUES 1:RATION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff First Bank & Trust, a legal entity authorized to transact business in the State of

Texas, submits this Plaintiff's Verified Petition For Enforcement Of Security Agreements, Money

Damages, Application For Appointment Of A Receiver, Application For Temporary Restraining

Order, And Temporary Injunction, And Application For Writ Of Sequestration, complaining of

2B Farms, Inc., Terry Robinson, and Rebecca Robinson (collectively, "Defendants"), and states

as follows.1




        1 All facts concerning First Bank & Trust or its actions are based on personal knowledge
and all other allegations are based on personal knowledge or information and belief.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 1
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                Desc
                          Plaintiffs Original Petition Page 2 of 140



                                             I.
                                   PRELIMINAY STATEMENT

       2B Farms, Inc. has dug a hole from which there is no return. In particular, its bank account

with First Bank & Trust is overdrawn in an amount exceeding S5 million. In addition, it has

defaulted on its business loan and now owes the bank over S3.5 million. 2B Farms is insolvent.

       Accordingly, First Bank & Trust brings this action in order to secure its collateral, ensure

an orderly liquidation process and the proper distribution of sale proceeds, reduce the debt, and

obtain other appropriate relief.

                                              II.
                                            PARTIES

       1.       Plaintiff First Bank & Trust ("First Bank") is a legal entity authorized to transact

business in the State of Texas.

       2.       Defendant 2B Farms, Inc. ("2B Farms"), is a corporation organized and existing

under the laws of the State of Texas, whose agent for service of process is Joe Barnes, and who

may be served with process through its registered agent at RT. 1 Box 103A, Ackerly, Texas 79713,

or wherever he may be found.

       3.       Defendant Terry Max "Bo" Robinson ("Bo Robinson") is an individual, who

resides, and may be served with process, at 9397 CR 3114, Snyder, Texas 79549, or wherever he

may be found.

       4.       Defendant Rebecca Ann Robinson ("Rebecca Robinson") is an individual, who

resides, and may be served with process, at 9397 CR 3114, Snyder, Texas 79549, or wherever she

may be found.2


       2 Bo Robinson and Rebecca Robinson are referred to herein as "Guarantors."


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 2
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40               Desc
                          Plaintiffs Original Petition Page 3 of 140



                                           III.
                                 JURISDICTION AND VENUE

       5.      Jurisdiction is proper in this Court as the amount in issue does not exceed the

maximum jurisdictional limits of this Court.

       6.      Venue is proper in Lubbock County because the governing loan documents

discussed herein provide that the District Court of Lubbock County, Texas, is the sole and

exclusive venue for any lawsuit arising from the transaction.3

                                          IV.
                                DISCOVERY CONTROL PLAN

       7.      Discovery in this action will be conducted under Level 3 in accordance with Texas

Rule of Civil Procedure 190.4. The parties will obtain a docket control order from the Court.

                                          V.
                           RULE 47 PLEADING REQUIREMENTS

       8.      As required by Rule 47(c) of the Texas Rules of Civil Procedure, First Bank &

Trust states that it seeks monetary relief over S1,000,000.00 and non-monetary relief.

                                           VI.
                                  FACTUAL BACKGROUND

A.     Loan And Security Agreement

       9.      On June 9, 2022, 2B Farms executed a Business Loan Agreement ("Loan

Agreement") and Agricultural Security Agreement ("Security Agreement") to secure financing

from First Bank for the acquisition of cattle.4



       3 Defendants have waived any right to a jury trial.


       4 The Loan Agreement and Security Agreement, together with all exhibits, modifications,
and addendums are attached as Exhibits A and B, respectively to the Declaration of Curtis Chrystal
(the "Chrystal Affidavit") attached hereto as Exhibit 1.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 3
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                 Desc
                          Plaintiffs Original Petition Page 4 of 140



       10.     In addition, on June 9, 2022, 2B Farms executed a Promissory Note (the "Note")5

promising to pay to First Bank so much of the principal sum of three million and five hundred

thousand dollars, which has been advanced by First Bank to 2B Farms pursuant to the terms of the

Agreements, together with interest on the unpaid principal balance advanced thereunder from the

date of the advance until paid, at a rate of 4.750% per annum based on a year of three hundred and

sixty (360) days provided, however, that the interest rate is subject to change following default.6

B.     2B Farms Defaults Under The Terms Of The Agreement

       11.     2B Farms is in default of the Agreement for at least five reasons.

       12.     First, 2B Farms, by its own admission, is insolvent. As of May 8, 2023, 2B Farms'

checking account with First Bank is overdrawn in the amount of 55,274,498.61. Further, 2B Farms

owes First Bank more than 53,508,668.65 pursuant to the Agreement. 2B Farms' debt presently

due and owing to First Bank exceeds 58.7 million. By Defendants' own admission they are

insolvent. For example, according to the financial statement submitted by Defendants to First

Bank on or about April 23, 2023, even after including Guarantors' personal assets (e.g., a

homestead), Defendants have a net worth of negative S1,536.6847.

       13.     Second, 2B Farms has incurred a material adverse change in its financial condition.

In particular, on April 10 and April 12, 2023, 2B Farms deposited into its account with First Bank

two checks totaling 55,070,398.47. 2B Farms then immediately transferred almost all of that




       5 Together, the Loan Agreement, Security Agreement, and Note are referred to herein as
the "Agreement."

       6 See Exhibit C to the Chrystal Affidavit.


       7 See Exhibit D to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 4
16510274.4
 Case 23-50096-rlj12        Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40             Desc
                           Plaintiffs Original Petition Page 5 of 140



amount out of its account with First Bank.8 Those two checks were subsequently dishonored by

the payor's bank for insufficient funds. As a result, 2B Farms immediately had a negative balance

in its account exceeding S5 million. The negative balance has now grown to 55,274,498.61. 2B

Farms, through Bo Robinson, has admitted the obvious      namely, that 2B Farms cannot cure the

overdrawn account. Bo Robinson informs First Bank that the S5 million in funds were transferred

to purchase cattle from McClain Feedyard, but that 2B Farms does not have those cattle and, worse

yet, the bounced checks were payments from McClain Farms, Inc. for cattle 2B Farms sold to

McClain Farms, Inc.

        14.     Third, 2B Farms is in payment default. In particular, given the foregoing, First

Bank accelerated the debt owed under the Agreement and demanded full payment. 2B Farms and

Guarantors, however, have not paid the amount demanded.

        15.     Fourth, 2B Farms is in default because, despite demand, it has failed to turnover

the Collateral to First Bank.

        16.     Fifth, 2B Farms is in default because it has made false and misleading statements

to First Bank. 2B Farms made false and misleading statements to First Bank, and those statements

centered around inflated cattle inventory. For example, in an e-mail from Bo Robinson to Rebecca

Fernandez (Commercial Banking Assistant at First Bank's Snyder, Texas branch) dated February

24, 2023, 2B Farms represented in a photograph of handwritten notes that it had obtained and sold

for a profit the following cattle:

                          Lot            Number Sold      Profit
                          1630           435              510,892.40
                          1632           485              512,188.05


        8 See Exhibit E to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 5
16510274.4
 Case 23-50096-rlj12         Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40            Desc
                            Plaintiffs Original Petition Page 6 of 140



                        1633            343             $8,605.87
                        1634            366             $9,201.24
                        1635            174             $4,390.02
                        1636            126             $3,171.42
                        1637            270             $6,814.80
                        1640            147             $3,707.34
                        1644            202             $5,088.38

The invoice from McClain Feedyard dated two days previously (February 22, 2023)9 regarding

cattle purchased by 2B Farms, however, shows that two of the lots (Nos. 1640 and 1644) do not

appear on the invoice. In the e-mail from Bo Robinson to First Bank, he represented 2B Farms'

ownership of cattle that do not appear on the McClain invoice as having been purchased.

       17.     In other e-mails to First Bank, Bo Robinson did not provide any invoices to

demonstrate ownership of cattle. Instead, he simply forwarded photographs of handwritten notes

claiming ownership. For example, in an e-mail dated January 17, 2023,10 Bo Robinson claimed

having sold 1,555 cattle:

                      Lot           Number Sold             Profit
                      1397          268                     $6,788.44
                      1398          500                     512,610.00
                      1399          206                     55,189.14
                      1400          149                     $3,742.88
                      1401          432                     510,817.28

       18.     The "ownership" of 1,555 cattle was not documented in the e-mail dated January

17.




       9 See Exhibit G to the Chrystal Affidavit.


       10 See Exhibit H to the Chrystal Affidavit.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 6
16510274.4
 Case 23-50096-rlj12         Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                  Desc
                            Plaintiffs Original Petition Page 7 of 140



          19.    In addition, in an e-mail exchange dated April 4, 2023,11 Bo Robinson indicated he

had made a principal payment on 2B Farms' revolving line of credit ("RLOC") and instructed First

Bank to deposit a 52,530,920.39 check into the account of 2B Farms.               Once that task was

accomplished, Bo Robinson would later inform First Bank of the amount to wire out of the account

to pay for additional cattle.

          20.    In the end, 2B Farms had led First Bank to believe that 2B Farms had a cattle

inventory of approximately 4,000 head. As it turns out, 2B Farms only had approximately 1,500

head of cattle. Through a series of e-mails and handwritten notes, Bo Robinson on behalf of 2B

Farms misrepresented the number of cattle owned by 2B Farms. Those misrepresentations are an

event of default under the Agreement.

          21.    Despite demand, 2B Farms has failed cure the defaults.

          22.    First Bank has exercised its right to accelerate the entire unpaid balance under the

Promissory Note, which as of May 8, 2023, is 53,473,448.25 (the "Indebtedness"). Pursuant to

the Promissory Note, interest has accrued, and continues to accrue, at a rate of 18% per annum.

          23.    In addition, First Bank was forced to retain counsel. Pursuant to the Agreement

First Bank is entitled to recovery of all attorneys' fees, costs, expenses, and collection costs in this

action.

C.        The Collateral

          24.    For the purpose of securing the Indebtedness, 2B Farms granted First Bank a

security interest in:




          11 See Exhibit Ito the Chrystal Affidavit.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 7
16510274.4
 Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40             Desc
                       Plaintiffs Original Petition Page 8 of 140



            All Livestock (including all increase and supplies) and Farm
            Equipment

            All Feed Inventory

            The Collateral includes any and all of Grantor's present and future
            inventory (including consigned inventory), related equipment,
            goods, merchandise and other items of personal property, no matter
            where located, of every type and description, including without
            limitation any and all of Grantor's present and future raw materials,
            components, work-in-process, finished items, packing and shipping
            materials, containers, items held for sale, items held for lease, items
            for which Grantor is lessor, goods to be furnished under contract for
            services, materials used or consumed in Grantor's business, whether
            held by Grantor or by others, and all documents of title, warehouse
            receipts, bills of lading, and other documents of every type covering
            all or any part of the foregoing, and any and all additions thereto and
            substitutions or replacements therefor, and all accessories,
            attachments, and accessions thereto, whether added now or later,
            and all products and proceeds derived or to be derived therefrom,
            including without limitation all insurance proceeds and refunds of
            Insurance premiums, if any, and all sums that may be due from third
            parties who may cause damage to any of the foregoing. or from any
            insurer, whether due to judgment, settlement, or other process, and
            any and all present and future accounts, contract rights, chattel
            paper, instruments, documents, and notes that may be derived from
            the sale, lease or other disposition of any of the foregoing, and any
            rights of Grantor to collect or enforce payment thereof, as well as to
            enforce any guarantees of the forgoing and security therefor, and all
            of Grantor's present and future general intangibles in any way
            related or pertaining to the ownership, operation, use, or collection
            of any of the foregoing, Including without limitation Grantor's
            books, records, files, computer disks and software, and all rights that
            Grantor may have with regard thereto. Inventory includes inventory
            temporarily out of Grantor's possession or custody and all returns
            on accounts, chattel paper and instruments.

            The Collateral includes any and all of Grantor's present and future
            farm products, livestock, including aquatic goods produced in
            aquacultural operations, poultry, agricultural commodities and other
            farm products of every type and description, including without
            limitation all replacements and substitutions therefor and additions
            thereto, and further including without limitation any and all
            offspring, unborn livestock, and other products, previously,
            contemporaneously and/or in the future acquired by Grantor
PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 8
16510274.4
 Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40            Desc
                       Plaintiffs Original Petition Page 9 of 140



            whether by purchase, exchange, accretion or otherwise, and alt of
            Grantor's present and future inventory in any way derived or to be
            derived therefrom, whether held by Grantor or by others, and all
            documents of title, warehouse receipts, bills of lading, and other
            documents of every type covering all or any part of the foregoing,
            and all of Grantor's equipment in any way related thereto, and any
            and all additions thereto and substitutions and replacements
            therefor, and ell accessories, attachments, and accessions thereto,
            whether added now or later, and all other products and proceeds
            derived or to be derived therefrom, including without limitation all
            Insurance proceeds and refunds of insurance premiums, if any, and
            all sums that may be due from third parties who may cause damage
            to any of the foregoing or from any insurer, whether due to
            judgment, settlement or other process, and any arid all present and
            future accounts, contract rights, chattel paper, instruments,
            documents and notes that may be derived from the sale or other
            disposition of any of the foregoing, and any rights of Grantor to
            collect or enforce payment thereof, as well as to enforce any
            guaranties of the foregoing and security therefor, and all of
            Grantor's present and future general intangibles in any way related
            or pertaining to any of the foregoing, Including without limitation
            Grantor's books, records, files, computer disks arid software, and all
            rights that Grantor may have with regard thereto.

            The Collateral includes any and all of Grantor's now owned or
            hereafter acquired farm equipment or agricultural machinery,
            equipment, furnishings and fixtures of every type and description,
            and all accessories, attachments, accessions, substitutions,
            replacements and additions thereto, whether added now or later, and
            all proceeds derived or to be derived therefrom, including without
            limitation any equipment purchased with the proceeds, and all
            insurance proceeds and refunds of insurance premiums, if any, and
            any sums that may be due from third parties who may cause damage
            to any of the foregoing, or from any insurer, whether due to
            judgment, settlement or other process, and any and all present and
            future accounts, chattel paper, instruments, notes and monies that
            may be derived from the sale, lease or other disposition of any of the
            foregoing, any rights of Grantor to collect or enforce payment
            thereof as well to enforce any guaranties of the foregoing and
            security therefor, and all present and future general intangibles of
            Grantor in any way related or pertaining to the ownership, operation,




PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                           PAGE 9
16510274.4
 Case 23-50096-rlj12      Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                  Desc
                         Plaintiffs Original Petition Page 10 of 140



               or use of the foregoing, and any rights of Grantor with regard
               thereto.12

First Bank's security interest is perfected as evidenced by the UCC financing statement.13

       1.      The remaining cattle and proceeds therefrom

       25.     As set forth above, it appears that portions of First Bank's Collateral   namely, a

significant number of cattle are missing.

       26.     On April 30 and May 1, 2023, First Bank had an audit and valuation of the cattle

collateral performed by Tom Griffin.14 The results are summarized below:

                         Pasture/       Head     Estimated     Total Value
                           Pen          Count      Value
                     Gail                 143    51,900.00      5271,700.00
                     Gail                  44    51,800.00       579,200.00
                     Allen                 89    52,750.00      5244,750.00
                     House                  3    51,200.00        53,600.00
                     Gail                   6    53,750.00       522,500.00
                     Denny                  4    52,000.00        58,000.00
                     Burrow                 7    55,500.00       538,500.00
                     Burrow                47    S1,800. 00      584,600.00
                     Burrow                82    51,530.00      5125,460.00
                     Burrow                36    51,440.00       551,840.00
                     Fenton               195    51,341.25      5261,543.75
                     Wiggins               68    S1,260. 00      585,680.00
                     Denny                169    51,500.00      5253,500.00
                     Denny                 50    51,035.00       551,750.00
                     Friona (Hefner)      126    51,395.00      5175,770.00
                     Friona (Hefner)      125    51,395.00      5174,375.00
                     Friona (Hefner)      142    51,260.00      5178,920.00
                     Friona (Hefner)      196    51,260.00      5246,960.00
                     Total               1532                 52,358,648.75



       12 See Exhibit B to the Chrystal Affidavit.


       13 See Exhibits J and K to the Chrystal Affidavit.


       14 See Exhibits L and M to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 10
16510274.4
 Case 23-50096-rlj12      Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40              Desc
                         Plaintiffs Original Petition Page 11 of 140



       2.       Equipment

       27.      On May 5, 2023, First Bank had a audit and valuation of the equipment collateral

performed by Robert D. Aycock.15 The results are as summarized as follows:

   Year      Make/Model                                          VIN                     Value
   1997      John Deere 8400 MFWD Tractor                  RW8400P013244               563,750
   1993      John Deere 4560 2WD Tractor                   RW4560H001732               536,350
   1982      John Deere 44-40 2WD Tractor                   4440H001863R               529,500
   1978      John Deere 44-40 2WD Tractor                  4440H0145962R               528,650
   1997      New Holland 8970 MFWD Tractor                  981496006574               560,350
   2010      John Deere 4730 Self Propelled Sprayer        NO4730X009059              5122,750
             W/Green Star GPS 2630 Screen                  PCGU2UG57062
   2015      Kubota SVL 90-2 Skid Steer                 JKUC0902V01516491              556,600
   2001      Caterpillar 928G Rubber Tire Loader              6XR02173                 547,900
   2016      Caterpillar 938M Rubber Tire Loader           0938MU3R02508              5182,500
   2012      Caterpillar 120M Road Grader                 0120MJB9N00249              S159,650
   2012      Kenworth Day Cab Truck Single Rear         1XKDAP8X7CJ331072              536,750
             Axle
             EZ Steer GPS Screen                             G0497A0098                 51,850
             Light Bar                                       4510415850
             Trimble GPS CFX Screen & Receiver               5534500624                 58,500
             Mod. 94510-00
   2010      John Deere 2410 Chisel Plow 27 Shanks         N02410X012070               536,900
             Big Ox 9 Shank V Ripper Plow                      B02659                   S1,100
   1999      John Deere 610 Chisel Plow, 15 Shank, 3       P00610X007999                57,500
             Point
             Great Plains 6330UC-12 Chisel Plow 30            GPC10157                 542,250
             FT.
             Summers Mfg. Coil Packer Mod 106 30                 10273                  57,500
             Ft.



       15 See Exhibit 0 to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 11
16510274.4
 Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40     Desc
                       Plaintiffs Original Petition Page 12 of 140



   Year   Make/Model                                         VIN              Value
          John Deere 158 Front Loader w/Forks &        W00158X035266          $6,250
          Bucket
          KBH 1610 Tank Tow Fertilizer Trailer             NT03722            $6,750
          5th Wheel Chassis With 1610 Gal. Tank
          Wilson 12 Ft. Box Scraper                         44316             $2,750
          John Deere 1418 Shredder 4 row                 1418T001695          $4,500
          AG Krane Hay King Lift                                              $2,850
          Shop Made 500 Gal. Diesel Trailer                                   $1,500
          W/12v Pump
   1973   Lufkin Float Flatbed Trailer W/3 - 1,600           3988             58,500
          Gal. Poly Tanks
          Big Tex HD Utility Trailer 20 Ft.          13906050 (Partial VIN    53,500
                                                         Tag Damage)
          E Z Trail Mod. 3400 Gravity Grain Cart                              $8,950
          On 1074 Chassis 4 Wheel W/Hyd.
   2004   Gooseneck Brand Big Haul Livestock         16G5742114B078973       $29,850
          Trailer, 1 Axle, 42 Ft.
   2007   Big Bend 24 Ft. Livestock Trailer 2 Axle   3BUG240257T000247        55,900
   2007   C & C Horse Trailer 3 Horse W/Living       1C9WG24208N643602       537,750
          Quarters
   2014   John Deere 469 Round Baler Mega Wide       E100469XPDE400109       534,500
          Plus 4,191 Bales
   2008   Massey Ferguson 1372 Swather, Heston           1372H556459         522,250
          Series W/Swivel Hitch
          Supreme Feed Mixer Model 700, Type C-          5967-001-01         $22,150
          3A
          Trioliet Feed Mixer Mod. Solo Mix 2-              06520            $42,500
          2800
          3 - Shop Made Cattle Self Feeders                                   $3,300
          Diesel Storage Tank 6,700 Gal. With                                 $2,500
          Pump
          Propane Tank 500 Gal.                                                $350
          1,500 Bushel Grain Bin                                               $950

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 12
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                   Desc
                          Plaintiffs Original Petition Page 13 of 140



     Year    Make/Model                                             VIN                        Value
     2003    Lindsay Grow Smart Center Pivot                      P-51204                    541,250
             Irrigation System - 8 Tower
             Total of all Equipment                                                        51,219,150


D.     The Guarantees

       28.      On June 14, 2021, Guarantors entered into commercial guarantees with First Bank

(the "Guarantees") whereby the Note and all obligations thereunder were personally and

individually guaranteed by Guarantors.16

       29.      As set forth above, 2B Farms is in default under the Agreement.

       30.      Pursuant to the Guarantees, Guarantors are liable to First Bank in the total amount

of the Indebtedness    namely, 53,526,032.91, plus attorneys' fees, costs, and interest.

E.     2B Farms' Fate Is Sealed When It Overdraws Its Bank Account By More Than $5
       Million.

       31.      On or about April 10, 2023, 2B Farms deposited into its account at First Bank

(account number ending in 8270) check number 7620, dated April 5, 2023, made payable to 2B

Farms in the amount of 52,559,407.02. 2B Farms was given access to those funds and immediately

transferred or otherwise depleted those funds. The check, however, was subsequently dishonored

by the paying bank for lack of sufficient funds and was returned to First Bank.

       32.      On or about April 12, 2023, 2B Farms deposited into its account at First Bank

(account number ending in 8270) check number 7621, dated April 6, 2023, made payable to 2B

Farms in the amount of 52,510,991.45. 2B Farms was given access to those funds and immediately




       16 See Guarantees attached as Exhibits P and Q to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 13
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                Desc
                          Plaintiffs Original Petition Page 14 of 140



transferred or otherwise depleted those funds. The check, however, was dishonored by the paying

bank for lack of sufficient funds and was returned to First Bank.

       33.     The two dishonored and returned checks total 55,070,398.47.

       34.     Pursuant to the customer account agreement between 2B Farms and First Bank,

First Bank charged back the amounts of the returned checks against 2B Farms' account.17 The

customer account agreement provides that First Bank has "the right to charge back or otherwise

debit your Account or other accounts you hold with us for any deposited Item that is returned, even

if you have made withdrawals against it."18 Further, the customer account agreement provides that

2B Farms is responsible for all overdrafts.19

       35.     The Uniform Commercial Code ("UCC") expressly provides that where a "bank

has made provisional settlement with its customer for an item and fails by reason of dishonor," the

bank "may revoke the settlement given by it, charge back the amount of any credit given for the

item to its customer's account, or obtain refund from its customer[.],52o

       36.     2B Farms has breached the customer account agreement by failing to pay First Bank

for the overdrafts in its account because of the dishonored and returned checks.

       37.     As a result of the foregoing, other charges, and fees, the account is overdrawn in

the amount of 55,274,498.61.




       17 See Exhibit R to the Chrystal Affidavit.


       18 See p. 5, § 9(h).


       19 See, pp. 11-12, § 14.


       20 To(. Bus. & COM. CODE § 4.214(a).

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 14
16510274.4
 Case 23-50096-rlj12      Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                    Desc
                         Plaintiffs Original Petition Page 15 of 140



                                    VII.
                 APPLICATION FOR APPOINTMENT OF A RECEIVER

       38.     A receiver may be appointed for a corporation that is insolvent or is in imminent

danger of insolvency.21 It is also proper to appoint a receiver where the rules of equity call for

such appointment.22 In the alternative, a court may properly appoint a receiver for property in an

action by a creditor who has a probable interest in the property and the property is in danger of

being lost, removed, or materially injured.23

       39.     Moreover, the Security Agreement provides that First Bank has the right to sell the

Collateral and to appoint a receiver.24

A.     A Receiver Should Be Appointed For 2B Farms.

       40.     As set forth herein, a receiver should be appointed for 2B Farms because: (1) 2B

Farms is insolvent or is in immediate danger of insolvency; and (2) the rules of equity call for such

appointment.

       41.     More specifically, the Security Agreement provides that "Lender shall have full

power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's

own name or that of Grantor" and:

       Lender shall have the right to have a receiver appointed to take possession of all or
       any part of the Collateral, with the power to protect and preserve the Collateral, to
       operate the Collateral preceding foreclosure or sale, and to collect the rents from
       the Collateral and apply the proceeds, over and above the cost of the receivership,
       against the Indebtedness. The receiver may serve without bond if permitted by law.


       21 See TEX. CIV. PRAC. & REM. CODE § 64.001(a)(5).


       22 See TEX. CIV. PRAC. & REM. CODE § 64.001(a)(6).


       23 See TEX. CIV. PRAC. & REM. CODE § 64.001(a)(2), and (b).


       24 See Exhibit B to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 15
16510274.4
 Case 23-50096-rlj12      Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                       Desc
                         Plaintiffs Original Petition Page 16 of 140



       Lender's rights to the appointment of a receiver shall exist whether or not the
       apparent value of the Collateral exceeds the Indebtedness by a substantial amount.
       Employment by Lender shall not disqualify a person from serving as a receiver.
       Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may
       collect the payments, rents, income, and revenues from the Collateral. Lender may
       at any time in Lender's discretion transfer any Collateral into Lender's own name
       or that of Lender's nominee and receive the payments, rents, income, and revenues
       therefrom and hold the same as security for the Indebtedness or apply it to payment
       of the Indebtedness in such order of preference as Lender may determine. Insofar
       as the Collateral consists of accounts, general intangibles, insurance policies,
       instruments, chattel paper, choses in action, or similar property. Lender may
       demand, collect, receipt for, settle, compromise, adjust, sue for, foreclose, or realize
       on the Collateral as Lender may determine, whether or not Indebtedness or
       Collateral is then due. For these purposes, Lender may, on behalf of and in the
       name of Grantor, receive, open and dispose of mail addressed to Grantor; change
       any address to which mail and payments are to be sent; and endorse notes, checks,
       drafts, money orders, documents of title, instruments and items pertaining to
       payment, shipment, or storage of any Collateral. To facilitate collection, Lender
       may notify account debtors and obligors on any Collateral to make payments
       directly to Lender.25
       42.     Given 2B Farms defaults and untenable financial condition, pursuant to the

foregoing contractual provisions, the Court should grant the request for appointment of the

receiver.

       1.      2B Farms is insolvent or in imminent danger of insolvency.

       43.     2B Farms sought financing from First Bank for livestock inventory that 2B Farms

needs to maintain its business. The lending relationship between First Bank and 2B Farms ended

when 2B Farms defaulted under the Agreement. First Bank has accelerated the debt and will not

advance or otherwise loan funds to 2B Farms. 26




       25 Exhibit B to the Chrystal Affidavit.


       26 See, e.g., Exhibit A to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 16
16510274.4
 Case 23-50096-rlj12        Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40               Desc
                           Plaintiffs Original Petition Page 17 of 140



       44.       2B Farms' financials reflect that its debts exceed its assets, even after including

Guarantors assets. 2B Farms admits it cannot pay the amounts due to First Bank.

       45.       2B Farms owe First Bank over S8 million. According to 2B Farms and Guarantors

their combined net worth is negative S1.5 million.27 2B Farms, therefore, is insolvent or in

imminent danger of being insolvent.

       46.       Accordingly, the Court should appoint a receiver over 2B Farms.

       2.        The rules of equity weigh heavily in favor of appointing a receiver because
                 appointing a receiver is the only way to prevent further damage to the
                 property and to public interest.

       47.       The Texas Civil Practices and Remedies Code specifically authorizes the

appointment of a receiver "under the rules of equity ."28 The rules of equity weigh in favor of

appointing a receiver because failing to do so would result in depletion, if not destruction, of the

property and further damage to the public interest.

       48.       The value of the Collateral has been decreased by 2B Farms selling, transferring,

destroying, or relocating the Collateral to the extent that it risks becoming unidentifiable.

Moreover, the problem of missing cattle seems to be a significant widespread problem impacting

many ranchers and creditors.29

       49.       The appointment of a receiver will allow for a replacement of 2B Farms'

management. The receiver will work to maintain and protect the Collateral, track down and



       27 See Exhibit D to Chrystal Affidavit.


       28 See TEX. CIV. PRAC. & REM. CODE § 64.001(a)(6)


       29 See,   e.g., Ag Texas Farm Credit Services, et al. v. McClain Feed Yard, Inc., et al.,
pending in the 222" District Court, Deaf Smith County, Texas. A copy of Plaintiffs' Original
Petition is attached hereto as Exhibit 2.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 17
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                  Desc
                          Plaintiffs Original Petition Page 18 of 140



maintain all remaining collateral, sell the Collateral in a systematic way to avoid a fire sale,

properly apply all proceeds from any sale of the Collateral, and investigate whether any claims or

causes of action exist while preserving 2B Farms' books and records. The rules of equity, therefore

support the appointment of a receiver.3°

B.     In the Alternative, a Receiver Should Be Appointed For The Collateral.

       50.     In the alternative, the Court should appoint a receiver over the Collateral to protect

the Collateral from danger of loss, removal, or material injury.31 Unless a receiver is appointed,

the Collateral is in danger of loss, removal, or material injury.

       51.     2B Farms owes First Bank over S8 million, but the Collateral has an estimated value

of only 53,599,548.75, minus purchase money security interests in the amount of 5160,055, for a

total of 53,473,448.25. 2B Farms has not turned over the Collateral to First Bank. The cattle must

be sold at the appropriate time to maximize the return and avoid additional cost. The equipment

also must be sold in an appropriate fashion. 2B Farms' continued possession of the Collateral is a

significant risk to First Bank as the continued use of the equipment will cause further depreciation,

and among other things, the cattle (a) may not be sold in the best matter; (b) costs will be incurred;

and (c) the proceeds may not be paid to First Bank.

       52.     2B Farms created this situation and cannot be allowed to remain in possession of

the Collateral. The Court should appoint a receiver because the Collateral is in danger of loss,

removal, or material injury.


       30 See Mueller v. Beamalloy, Inc., 994 S.W.2d 855, 861 (Tex. App. Houston [1" Dist.]
1999) (specifically stating that a court may appoint a receiver under the rules of equity); In re
Herring, 983 S.W.2d 61, 65 (Tex. App. Corpus Christi, 1998) (same).

       31 See TEX. CIV. PRAC. & REM. CODE. § 64.001(a)(2), (b).


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 18
16510274.4
 Case 23-50096-rlj12        Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                    Desc
                           Plaintiffs Original Petition Page 19 of 140



C.     First Bank Requests The Immediate Appointment Of Bart Schilling As The Receiver.

       53.       First Bank requests that the Court immediately appoint Bart Schilling ("Schilling")

as receiver for 2B Farms, or at a minimum, the Collateral. Schilling is uniquely qualified with

extensive experience in cattle and agricultural consulting, operations, and lending. Schilling is

willing and able to serve as receiver of 2B or the Collateral.

       54.       Schilling has three decades of experience in the agricultural and cattle lending

industries. Schilling's clientele includes row crop farm operations, feedlots, grow yards, stocker

cattle operations, ranch operations, and commercial real estate.          Schilling currently provides

consulting and accounting/record-keeping services, including livestock grazing and crop

production planning, to a broad array of clients. 32

       55.       Schilling is a citizen and qualified voter of Texas and, in fact, a resident of Lubbock,

Texas. Schilling, therefore, is appropriately qualified as a receiver.33

       56.       First Bank has discussed the situation regarding 2B Farms and the Collateral with

Schilling, and he is willing and able to serve immediately as the receiver for 2B Farms or the

Collateral, and work to secure the Collateral and any other property of 2B Farms.

       57.       First Bank requests that the Court enter an order appointing Schilling as receiver

for 2B Farms or, in the alternative, the Collateral. Appointing Schilling as the receiver will allow

for the improvements needed to secure the Collateral and ensure no acts will be taken against

public policy.




       33 To(. Bus. ORGS. CODE § 11.406.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 19
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                   Desc
                          Plaintiffs Original Petition Page 20 of 140



                             VIII.
APPLICATION FOR TEMPORARY RESTRAINING ORDER AND TEMPORARY AND
                  PERMANENT INJUNCTIVE RELIEF

       58.     There is a substantial likelihood that First Bank will prevail on the merits of its

claims. Unless enjoined, 2B Farms will continue to: (1) conceal, waste, or dispose of First Bank's

Collateral; (2) sell the Collateral out of trust; (3) conceal, waste, or dispose of the proceeds of the

sale of the Collateral to which First Bank's security interest attaches; and/or (4) otherwise hide or

remove the Collateral from the jurisdiction of this Court and the reach of First Bank.

       59.     Unless a Temporary Restraining Order ("TRO") is granted against 2B Farms, First

Bank will suffer irreparable injury   namely, its security interests will be diminished, if not lost in

their entirety. The harm to First Bank is imminent; indeed, it has occurred and continues to occur.

       60.     First Bank has no adequate remedy at law because the diminution, if not complete

destruction, of its security interests will constitute irreparable injury that cannot be adequately

remedied by an award of damages         the security interests were created to protect First Bank's

ability to collect any damages. If reduced to an unsecured creditor, First Bank may recover

nothing, as the Collateral may be transferred or destroyed to the extent that it is unidentifiable and

beyond recovery.

       61.     Further, greater injury will be inflicted upon First Bank by the denial of a TRO and

injunctive relief than would be inflicted upon Defendants by the granting of such relief. By

granting the TRO, 2B Farms will merely be required to abide by its legal, contractually agreed-to

obligations and to maintain the status quo.

       62.     The issuance of injunctive relief will not disserve the public interest. Balancing the

equities and other factors, the significant potential of irreparable harm to First Bank without the


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 20
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                  Desc
                          Plaintiffs Original Petition Page 21 of 140



TRO and the lack of harm to 2B Farms due to the entry of a TRO demonstrate that the relief will

not disserve the public interest. First Bank asks that the Court hold 2B Farms to its word.

       63.     The facts above establish the required elements for First Bank to obtain a temporary

restraining order and temporary injunction against 2B Farms, those elements being: (1) a cause of

action against 2B Farms; (2) a probable right to the relief sought; and (3) a probable, imminent,

and irreparable injury in the interim.

       64.     For those reasons, First Bank requests that the Court, pursuant to TEx. R. Civ. P.

680, enter a temporary restraining order providing that:

       a.      2B Farms and its agents, servants, employees, and those acting in concert or

participating with them, including Guarantors, are enjoined from selling, transferring, leasing,

renting, destroying, altering, otherwise disposing of, or moving from its current location, any

"Livestock (including all increase and supplies) and Farm Equipment" and "Feed Inventory,"

without permission of First Bank or the Court, which will ensure that the Collateral is properly

protected to secure First Bank's interests. Further, 2B Farms is required to maintain all Cattle in

regular course of care, including feeding, hygiene, and medical intervention.

       b.      2B Farms and its agents, servants, employees, and those acting in concert or

participating with them, including Guarantors, are enjoined from distributing, spending,

transferring, or otherwise using or concealing the process from the sale, lease, rent, or other

disposition of the Collateral that has occurred, without permission of the Court, except that such

funds may be deposited in the registry of the Court.

       c.      2B Farms must, within twenty-four (24) hours, provide to First Bank all books and

records regarding the Collateral. More particularly, 2B Farms must provide to First Bank all books


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 21
16510274.4
 Case 23-50096-rlj12      Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                  Desc
                         Plaintiffs Original Petition Page 22 of 140



and records regarding all Cattle in the possession of 2B Farms, including, but not limited to,

information regarding head count, present weight, pound value, tag numbers, location, and

condition of health.

       d.      2B Farms and its agents, servants, employees, and those acting in concert or

participating with them, including Guarantors, shall turnover all the Collateral to the County

Constable within twenty-four (24) hours and provide the Constable access to all locations where

the Collateral is located (the "Properties"), and open any such location. If access to the Properties

is not voluntarily granted for the Constable, the Constable may, using reasonable and appropriate

force, access the Properties for the sole purpose of recovering the Collateral.

                                     IX.
                  APPLICATION FOR OF WRIT OF SEQUESTRATION

       65.     Despite demand, 2B Farms has failed, and continues to fail, to cure its defaults.

Further, 2B Farms has failed to turnover the Collateral to First Bank, despite demand.

       66.     It is within the power of 2B Farms to transfer, conceal, dispose of, destroy, or waste

the Collateral or remove the Collateral from disclosed locations during the pendency of this action.

In fact, without First Bank's knowledge or consent, 2B Farms as recently as May 2, 2023, sold

S270,609.44 worth of cattle to Harlow Cattle, LLC. Harlow Cattle, LLC, issued a check to

Defendant Bo Robinson in this amount, allegedly made payable to 2B Farms and First Bank. That

check, however, has not been turned over to First Bank.

       67.     Consequently, First Bank's security interest in the Collateral risks compromise in

its entirety until the time at which a full hearing is held and judgment had.

       68.     The issuance of a Writ of Sequestration, therefore, is necessary to preserve the

Collateral in which First Bank has a security interest pending the outcome of this suit, including

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 22
16510274.4
 Case 23-50096-rlj12        Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                   Desc
                           Plaintiffs Original Petition Page 23 of 140



"All Livestock (including all increase and supplies) and Farm Equipment" and "All Feed

Inventory", as described in the Security Agreement.

       69.       Contemporaneously filed with this Petition is First Bank's Application for Writ of

Sequestration.    First Bank requests that this Court grant its Application and issue an order

containing the relief requested therein.

                                              X.
                                       CAUSES OF ACTION

A.     Enforcement Of Security Agreement And For Possession Of Secured Collateral

       70.       First Bank realleges all allegations set forth above, and incorporates the same as if

set forth verbatim herein.

       71.       By this action, First Bank seeks enforcement of its security interest in the Collateral

as 2B Farms is in default under the terms of the Agreements. Pursuant to the terms of the

Agreements, and as a result of 2B Farms' default thereon, First Bank is entitled to immediate

possession of the secured Collateral. First Bank asks the Court to, pursuant to the terms of the

Agreement, enforce the Agreement and award First Bank immediate possession of the Collateral.

B.     Breach of Business Loan Agreement And Agricultural Security Agreement And Note

       72.       First Bank realleges all allegations set forth above, and incorporates the same as if

set forth verbatim herein.

       73.       2B Farms and First Bank are parties to the Business Loan Agreement, Agricultural

Security Agreement, and Note whereby 2B Farms was required to make certain payments in

accordance with the terms of the Agreement.

       74.       2B Farms is in default of the Agreement as set forth above.

       75.       2B Farms has failed to cure its defaults.

PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 23
16510274.4
 Case 23-50096-rlj12         Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40             Desc
                            Plaintiffs Original Petition Page 24 of 140



       76.     First Bank has suffered monetary damages in an amount no less than 53,526,032.91

as a direct result of 2B Farms' breach of the Agreement, on which interest, attorneys' fees, and

costs continue to accrue.

C.     Breach Of Customer Account Agreement (UCC 4-214)

       77.     First Bank realleges all allegations set forth above and incorporates the same as if

set forth verbatim herein.

       78.     On or about April 10, 2023, 2B Farms deposited into its account at First Bank

(account number ending in 8270) check number 7620, dated April 5, 2023, made payable to 2B

Farms in the amount of 52,559,407.02. 2B Farms was given access to those funds and immediately

transferred or otherwise depleted those funds. The check, however, was subsequently dishonored

by the paying bank for lack of sufficient funds and was returned to First Bank.

       79.     On or about April 12, 2023, 2B Farms deposited into its account at First Bank

(account number ending in 8270) check number 7621, dated April 6, 2023, made payable to 2B

Farms in the amount of 52,510,991.45. 2B Farms was given access to those funds and immediately

transferred or otherwise depleted those funds. The check, however, was dishonored by the paying

bank for lack of sufficient funds and was returned to First Bank.

       80.     The two dishonored and returned checks total 55,070,398.47.

       81.     Pursuant to the customer account agreement between 2B Farms and First Bank,

First Bank charged back the amounts of the returned checks against 2B Farms' account.34 The

customer account agreement provides that First Bank has "the right to charge back or otherwise




       34 See Exhibit R to the Chrystal Affidavit.


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 24
16510274.4
 Case 23-50096-rlj12       Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40                Desc
                          Plaintiffs Original Petition Page 25 of 140



debit your Account or other accounts you hold with us for any deposited Item that is returned, even

if you have made withdrawals against it."35 Further, the customer account agreement provides that

2B Farms is responsible for all overdrafts.36

       82.     The Uniform Commercial Code ("UCC") expressly provides that where a "bank

has made provisional settlement with its customer for an item and fails by reason of dishonor," the

bank "may revoke the settlement given by it, charge back the amount of any credit given for the

item to its customer's account, or obtain refund from its customer[.]"37

       83.     2B Farms has breached the customer account agreement by failing to pay First Bank

for the overdrafts in its account because of the dishonored and returned checks.

       84.     As a result of the foregoing, other charges, and fees, the account is overdrawn in

the amount of 55,274,498.61. First Bank, therefore, has suffered monetary damages in an amount

no less than 55,183,618.51 as a direct result of 2B Farms' breach of the customer account

agreement.

D.     Breach Of The Personal Guarantees

       85.     First Bank realleges all allegations set forth above, and incorporates the same as if

set forth verbatim herein.

       86.     The Guarantors personally guaranteed all of 2B Farms' obligations to First Bank

under the Note and the Agreements.




       35 See p. 5, § 9(h).


       36 See, pp. 11-12, § 14.


       37 To(. Bus. & COM. CODE § 4.214(a).


PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 25
16510274.4
 Case 23-50096-rlj12         Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40              Desc
                            Plaintiffs Original Petition Page 26 of 140



        87.    The Guarantors are fully responsible for the amount owed by 2B Farms to First

Bank and for all damages incurred by First Bank as a result of 2B Farms' breach of the Agreement.

        88.    The Guarantors have breached the Guarantees by failing to pay to First Bank the

amounts owed by 2B Farms pursuant to the Agreement.

        89.    As a result of the Guarantors' breach of the Guarantees, First Bank has suffered

monetary damages in the amount of 53,526,032.91.

                                          XI.
                             PRAYER AND REQUEST FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, First Bank and Trust prays to the Court

for the following relief:

       1.      2B Farms, Inc., Terry Robinson, and Rebecca Robinson be cited to appear and

answer herein and served with copies of the same;

       2.      First Bank be awarded damages against Defendants;

       3.      First Bank be awarded attorneys' fees, costs, and expenses;

       4.      Pre-judgment interest at the maximum legal rate;

       5.      Post-judgment interest at the maximum legal rate running from the date of

judgment herein until the date the judgment is paid in full;

       6.      A temporary restraining order and temporary injunction as set forth above;

       7.      Appointment of the receiver as set forth above;

        8.     Issuances of the requested Writ of Sequestration;

       9.       Judgment granting First Bank immediate possession of all Collateral; and

       10.     First Bank be granted all other relief to which it may be entitled.



PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 26
16510274.4
 Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40        Desc
                       Plaintiffs Original Petition Page 27 of 140

                                            Respectfully submitted,


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PLAINTIFF'S VERIFIED PETITION FOR ENFORCEMENT OF SECURITY AGREEMENTS, MONEY
DAMAGES, APPLICATION FOR APPOINTMENT OF A RECEIVER, APPLICATION FOR TEMPORARY
RESTRAINING ORDER, AND TEMPORARY INJUNCTION, AND APPLICATION FOR WRIT OF
SEQUESTRATION                                                          PAGE 27
16510274.4
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 28 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 29 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 30 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 31 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 32 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 33 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 34 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 35 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 36 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 37 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 38 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 39 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 40 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 41 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 42 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 43 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 44 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 45 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 46 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 47 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 48 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 49 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 50 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 51 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 52 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 53 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 54 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 55 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 56 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 57 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 58 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 59 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 60 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 61 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 62 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 63 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 64 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 65 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 66 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 67 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 68 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 69 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 70 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 71 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 72 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 73 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 74 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 75 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 76 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 77 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 78 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 79 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 80 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 81 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 82 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 83 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 84 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 85 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 86 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 87 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 88 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 89 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 90 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 91 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 92 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 93 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 94 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 95 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 96 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 97 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 98 of 140
Case 23-50096-rlj12    Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 99 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 100 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 101 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 102 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 103 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 104 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 105 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 106 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 107 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 108 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 109 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 110 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 111 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 112 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 113 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 114 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 115 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 116 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 117 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 118 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 119 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 120 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 121 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 122 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 123 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 124 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 125 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 126 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 127 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 128 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 129 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 130 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 131 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 132 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 133 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 134 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 135 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 136 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 137 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 138 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 139 of 140
Case 23-50096-rlj12     Doc 30-2 Filed 07/13/23 Entered 07/13/23 21:19:40   Desc
                      Plaintiffs Original Petition Page 140 of 140
